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GEORGE BASSIAS ATTORNEY LLC
ATTORNEYS FOR DEFENDANT
MICHAEL HEILBRON

21-83 STEINWAY STREET
ASTORIA, NY 11105
718-721-4441

UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK

--- --- - X ADV. PROC. NO. 18-01055-ess
BENJAMIN PLAZA, JR.,

Chapter 7 Creditor

 

Plaintiff,
v.
MICHAEL HEILBRON,
Defendant.
-- -- X
_ ANSWER TO AMENDED COMPLAINT

 

Defendant Michael Heilbron by his attorney GEORGE BASSIAS ATTORNEY LLC, as
for the answer to the amended complaint states the following:
A. Denies 8, 9, 10, 21, 22.
FIRST AFFIRMATIVE DEFENSE
B. Defendant did not intend for plaintiff to sustain the injuries complained
of.

Dated: Queens, NY
September 19, 2018

 

GEORG E’BASSIAS ATTORNEY LLC
ATTORNEYS FOR DEFENDANT
MICHAEL HEILBRON

21-83 STEINWAY STREET

 
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